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                           IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO

    THOMAS EUGENE CREECH,
                                                     Case No. 1:24-cv-066-AKB
                                 Plaintiff,
                                                     PROSECUTOR BENNETTS’
    vs.                                              OPPOSITION TO MOTION FOR
                                                     PRELIMINARY INJUNCTION
    IDAHO COMMISSION OF PARDONS                      [DKT. 4]
    AND PAROLE; JAN M. BENNETTS, Ada
    County Prosecuting Attorney, in her official
    capacity,

                                 Defendant.


          The overriding factor concerning Creech’s Commutation Hearing is that Idaho law places

the final decision regarding death sentence clemency with the Governor of Idaho. 1 On Monday,


1
  “The commission shall have authority to grant commutations and pardons after conviction and
judgment for offenses, or conspiracies to commit any offense, for which the maximum punishment
allowed by law at the time of sentencing is death or life imprisonment only after first presenting a
recommendation to the governor. If the governor approves the commission’s recommendation
within thirty (30) days of presentment, the commission’s pardon or commutation shall issue. If the
governor rejects the commission’s recommendation within thirty (30) days of presentment or takes
                                                                                              (cont.)

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January 29, 2024, following the Idaho Commission of Pardons and Parole’s (“Commission”)

decision denying Creech’s request for clemency, Governor Brad Little issued the following

statement:

       As Governor, my job is to follow the law and ensure that lawful criminal sentences
       are carried out. Thomas Creech is a convicted serial killer responsible for acts of
       extreme violence. Our court system convicted Creech, and he was lawfully
       sentenced to death. As Governor, I have zero intention of taking any action that
       would halt or delay Creech’s execution. His lawful and just sentence must be
       carried out as ordered by the court. Justice has been delayed long enough. 2

       This lawsuit is therefore an exercise in futility for Creech, given this strong statement

issued by the Governor two weeks ago. Creech’s arguments must be viewed through this lens.

       After receiving decades of due process through the judicial system, Creech requested an

act of grace from the executive branch whose prerogative is to exercise discretion in granting it.

After hearing and considering Creech’s evidence, witnesses, information, and arguments—

including the same arguments about the quality of evidence presented that he brings in this case—

the Commission exercised its discretion and declined to recommend a commutation. And the final

decisionmaker in the executive branch, the Governor, concurs. A preliminary injunction based on

Creech’s hope for a second chance at a hearing—with no chance of receiving a commutation—

should be denied.




no action on the recommendation before the passage of thirty (30) days from presentment, no
pardon or commutation shall issue from the commission, and the commission’s recommendation
shall be of no force or effect.” Idaho Code § 20–1016(2).
2
  “Gov. Little comments on Creech execution moving forward,” O FFICE OF THE GOVERNOR,
January 29, 2024, https://gov.idaho.gov/pressrelease/gov-little-comments-on-creech-execution-
moving-forward/. (emphasis added).
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                          I.    FACTS & PROCEDURAL HISTORY

    A. David Jensen Murder

       The facts of this case began on May 13, 1981, when Creech brutally murdered fellow

inmate David Jensen (“Jensen”) by beating him with a sock full of batteries, and then kicking him

in the throat.3 Creech v. Richardson, 59 F.4th 372, 376–77 (9th Cir. 2023), cert. denied, 144 S. Ct.

291, 217 L. Ed. 2d 132 (2023). Creech attacked Jensen by repeatedly hitting him in the head with

the sock full of batteries until the plate embedded in Jensen’s skull shattered, causing his skull to

cave in and blood to splash on the walls and floor. Id. Creech took breaks during the beating, and

after the sock broke and the batteries fell out, he kicked Jensen in the throat while Jensen lay

sprawled on the floor.4 Id.

       Creech pled guilty to the Jensen murder, and on January 25, 1982, in a written decision,

Fourth Judicial District Judge Robert Newhouse sentenced Creech to death. Id. at 378. Creech

filed multiple appeals which resulted in two resentencings. The final resentencing hearing lasted

for five days and was held before Judge Newhouse in March and April of 1995. Id. at 379. Judge

Newhouse found that, “The protection of society demands that Thomas Eugene Creech receive the

death penalty.” Id. at 380.

       As echoed by the United States Supreme Court:

       The facts underlying this case could not be more chilling. Thomas Creech has
       admitted to killing or participating in the killing of at least 26 people. The bodies
       of 11 of his victims—who were shot, stabbed, beaten, or strangled to death—have
       been recovered in seven States. Creech has said repeatedly that, unless he is

3
  Jensen, who was in prison for stealing a car, was twenty-three years old at the time of his murder.
He suffered from physical and mental disabilities, was partially paralyzed, and a plastic plate had
been surgically embedded in his skull. Creech v. Richardson, 59 F.4th at 376.
4
  At the time of the murder, Creech was serving two life sentences for the murders of Edward
Thomas Arnold and John Wayne Bradford in 1974 in Valley County, Idaho. He had also been
convicted of murdering Vivian Grant Robinson in 1974 in Sacramento, California, and William
Joseph Dean in 1974 in Portland, Oregon. [Dkt. 5-3, p. 6, ll. 8-11]
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       completely isolated from humanity, he likely will continue killing. And he has
       identified by name three people outside prison walls he intends to kill if given the
       opportunity.

Arave v. Creech, 507 U.S. 463, 465–66 (1993).

       Procedurally, Creech’s guilty plea and conviction for the Jensen murder has woven in and

out of both state and federal courts for more than 40 years. For a detailed discussion of the complex

procedural history, please see Creech v. Richardson, 59 F.4th at 376, and Creech v. State, No.

50336, 2024 WL 510105 (Idaho Feb. 9, 2024).


   B. January 19, 2024 Commutation Hearing

       On October 18, 2023, the Commission granted Creech’s request for a clemency hearing

(“Hearing”) relating to his death sentence for the Jensen murder, and scheduled the Hearing for

January 19, 2024. [Dkt. 4-2, ¶ 9] Ashley Dowell, the Executive Director for the Commission,

issued a memo dated November 13, 2023, outlining the Hearing procedures to be followed. [Dkt.

5-7] Following additional communications between the Ada County Prosecuting Attorney’s Office

(“ACPA”) and Creech’s attorneys from the Federal Defenders of Idaho (“FDI”), Ms. Dowell

issued another memo on December 20, 2023. Dec. of T. Smith, Ex. A.

       These memos from Ms. Dowell (“Memos”) outlined the exact procedures to be followed

by the parties. Importantly, the Memos reminded the ACPA and FDI:

       As discussed in the meeting, commutations are a matter of clemency, and the
       hearing is not an adversarial proceeding. As such, the parties will make
       presentations to the Commission, with only previously identified supporter(s),
       identified victim(s), and attorneys speaking, and will not be allowed to call
       witnesses for questioning, cross examine the other party, or object to what is being
       said during the parties’ presentation time.

                                          *      *       *

       Each party will be provided a table in the hearing room and will have the ability to
       run their own PowerPoint presentation.


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                                         *      *         *

       The investigation report and attached documents (“hearing packet”) has been sent
       to the Commission for review on December 20, 2023.

Id.

       The Memos do not provide that the ACPA and FDI were to share their respective

PowerPoint presentations with the Commission or the other side. At the Hearing, the ACPA

presented its PowerPoint presentation in accordance with the Commission’s rules, and the FDI

also “delivered a lengthy PowerPoint presentation.” [Dkt. 4-2, ¶ 39] Pursuant to the Commission’s

Hearing rules, the ACPA did not provide its PowerPoint presentation to the Commission or FDI

prior to the Hearing, and the FDI did not provide its PowerPoint to the ACPA prior to the Hearing.

Dec. of T. Smith, ¶ 7.


               1. Daniel Walker Murder

       During the Closing Arguments section of the ACPA’s PowerPoint presentation, Deputy

Prosecutor Jill Longhurst referred to eleven (11) murders in which Creech was convicted of, plead

guilty to, or admitted to, including the murder of Daniel Walker. Id., Ex. B, p. 5. In 1975, Creech

admitted to killing a man in San Bernadino County, California, which facts mirror the facts

involved in the Walker murder. [Dkt. 4-5, pp. 22-29]

       The Declaration of Christopher M. Sanchez, counsel for Creech, recognizes as much: “The

ACPA [Hearing] exhibits do contain a transcript of an interview [with Creech] that took place on

April 28, 1975. At that interview, Creech claimed to have killed a man under circumstances that

resemble the facts in the Walker case.” [Dkt. 4-2 ¶ 33]




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                2. Rebuttal of Creech’s False Statements

        In his presentation to the Commission, Creech’s attorney asserted that Creech takes

responsibility for his actions:

        Mr. Creech also continues to live with the knowledge of what he did, the horrible
        price that he exacted from the victims of his crimes. Attorney Horwitz believes
        living with the understanding of the consequences of his actions is punishment
        itself. Mr. Creech’s wife, LeAnn previously stated that he does not deserve death
        for things that he did in his 20s, things that he knows he shouldn’t have done and
        have haunted him ever since. She believes he has suffered for everything he did,
        not only because he is in prison but because of what it did to him as a person, what
        he has had to come to terms with. She stated that Tom looks back and cannot believe
        he was ever that person, and he struggles to understand how he got to that point.

Dec. of T. Smith, Ex. B, pp. 4–5.

        In her main presentation, Prosecutor Longhurst addressed Creech’s continued blaming of

Jensen for his murder:

        Ms. Longhurst explained that the biggest lie Thomas Creech ever told was that the
        brutal beating of [redacted] was self-defense. Mr. Creech wanted to go into
        isolation, and in order to get what he wanted, he used violence, and it worked. He
        has always used violence or threats of it to get what he wants.

                                         *       *       *

        Self-defense, Ms. Longhurst said, is part of the lie that Thomas Creech has been
        trying to tell them. Ms. Longhurst asked how Thomas Creech can claim he is
        remorseful if he cannot accept any wrongdoing.

Id., Ex. B, pp. 5, 9 (redactions supplied by the Commission). She also referenced socks that were

collected as evidence from the Jensen murder scene:

        Ms. Longhurst added that in Thomas Creech’s cell, officers discovered a sock that
        matched the one used with the batteries, and a toothbrush identical to the one
        attached to a razor blade, pictured in [redacted] cell.

Id., p. 9 (redactions supplied by the Commission).

        During the Closing Arguments section of the ACPA’s PowerPoint presentation, Prosecutor

Longhurst rebutted Creech’s statements to the investigator, and as part of that showed a photo of


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two of the socks that were collected as evidence from the Jensen murder scene for demonstrative

purposes. [Dkt. 5-5] As reflected in the Hearing Minutes, Prosecutor Longhurst offered rebuttal as

to Creech’s statements to the investigator:

        Mr. Creech claims he is remorseful, but just months ago, Creech told Mr. Maddox
        [the investigator] that he killed [redacted] in self-defense. Creech blamed [redacted]
        for being murdered. When asked if he believes he deserves the death penalty,
        Creech said he did not know, because [redacted] attacked him. During his interview
        with Mr. Maddox, Creech explained that the socks had their names written on them,
        and the sock that he used as a weapon was labeled “Garza.” Ms. Longhurst
        displayed a photograph of the matching sock that was found in Creech’s cell. The
        name on the sock is “Creech.”

Dec. of T. Smith, Ex. B, p. 13 (redaction supplied by the Commission).

   C. Creech’s Post-Hearing Communications to the Commission

        On January 22, 2024, three days after the Hearing concluded and before the Commission

made its decision, the FDI sent the Commission a letter asking for it to delay its commutation

decision “for at least two months so that further investigation can be done into two significant

assertions that were made for the first time by the prosecutor, Jill Longhurst, at last Friday’s

hearing.” [Dkt. 5-8] The letter describes at length the same issues it has presented to this Court—

the Daniel Walker murder and the photograph of the sock. Id.

        On January 25, 2024, the FDI sent a follow-up letter to the Commission, and provided

further arguments in support of its request to delay the Commission’s commutation decision while

the FDI “further investigates” claims related to Creech’s criminal case. [Dkt. 5-9]

        On January 29, 2024, the FDI sent yet another lengthy letter to the Commission, with even

more arguments as to why the need to delay the decision was necessary. [Dkt. 5-10]

        On January 22, 2024, the Idaho Attorney General’s Office issued its own letter to the

Commission, in which it responded to and refuted the post-Hearing claims made by the FDI. [Dkt.

5-12]

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       Despite Creech’s “further investigation” arguments and request to delay the decision, on

January 29, 2024, the Commission denied Creech’s petition for clemency. This civil lawsuit and

request for a preliminary injunction was subsequently filed by Creech.


                                         II.   STANDARD

       This Court has explained the preliminary injunction standard:

       Federal Rule of Civil Procedure 65 governs the entry of a preliminary injunction.
       “The purpose of a preliminary injunction is merely to preserve the relative positions
       of the parties until a trial on the merits can be held.” Univ. of Tex. v. Camenisch,
       451 U.S. 390, 395 (1981). Preliminary injunctive relief “is an extraordinary and
       drastic remedy, one that should not be granted unless the movant, by a clear
       showing, carries the burden of persuasion.” Mazurek v. Armstrong, 520 U.S. 968,
       972 (1997) (citation omitted). To obtain relief, the party seeking a preliminary
       injunction must establish that: (1) it is likely to succeed on the merits; (2) it is likely
       to suffer irreparable harm in the absence of preliminary relief; (3) the balance of
       equities tips in its favor; and (4) an injunction is in the public interest. Winter v.
       Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The first factor “is the most
       important—likely success on the merits.” Garcia v. Google, Inc., 786 F.3d 733,
       740 (9th Cir. 2015). Further, the “possibility” of irreparable harm is insufficient;
       irreparable injury must be “likely” in the absence of an injunction. Winter, 555 U.S.
       at 22.

BigRentz, Inc. v. KGM Enterprises, LLC, No. 1:22-CV-00430-AKB, 2023 WL 7496726, at *1 (D.

Idaho Nov. 13, 2023).


                                         III. ARGUMENT

       For the following reasons, Creech fails to meet his heavy burden to show that the

extraordinary and drastic remedy of a preliminary injunction should be granted to halt his

execution. He fails to make the most important showing, a likelihood of success on the merits.




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   A. Judicial review of clemency hearings is rarely, if ever, appropriate and only minimal
      due process is applicable to these discretionary, executive decisions.

       There is no constitutional or inherent right to commutation of a sentence, and a petition for

commutation “is simply a unilateral hope.” Ohio Adult Parole Auth. v. Woodard, 523 U.S. 272,

280 (1998) (quoting Connecticut Bd. of Pardons v. Dumschat, 452 U.S. 458, 465 (1981)). Such

petitions are the purview of the executive branch, rather than the judicial. Id. at 276. Because

“pardon and commutation decisions have not traditionally been the business of courts,” the

Supreme Court has recognized that “they are rarely, if ever, appropriate subjects for judicial

review.” Dumschat, 452 U.S. at 464. This is not one of those rare cases.

       Justice O’Connor gave the definitive explanation as to what those rare cases are in her

concurrence in Ohio Adult Parole Authority. v. Woodard, 523 U.S. 272 (1998). The principal

opinion in Woodard, authored by Chief Justice Rehnquist, recognized the nature of clemency as a

“matter of grace” within the “broad discretion” of the “ultimate decisionmaker, the Governor.” Id.

at 280–81, 282. These principles of executive discretion stand in contrast to the strictures and

procedures of the judicial system that adjudicates the guilt or innocence of a criminal defendant.

Id. at 284–85. And unlike the judicial system, Due Process did not require regimented procedural

protections regarding commutation proceedings. Id. at 285. The Chief Justice and seven other

Justices concluded that Ohio’s clemency procedures did not violate due process. Id. at 282, 288.

       While Justice O’Connor agreed that Ohio’s procedures did not violate due process, she and

three other Justices desired to clarify that they did not believe in a complete absence of

“constitutional safeguards” in clemency proceedings, but that there must be some kind of “minimal

procedural safeguards” that apply. Id. at 288–89 (O’Connor, J., concurring in part). The only

examples this concurrence provided of sufficiently egregious situations to justify judicial

intervention were “a scheme whereby a state official flipped a coin to determine whether to grant


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clemency, or in a case where the State arbitrarily denied a prisoner any access to its clemency

process.” Id. at 289. Justice O’Connor identified multiple alleged deficiencies that fail to amount

to a due process violation, including an allegation that the death row inmate “was precluded from

testifying or submitting documentary evidence at the hearing.” Id. at 289–90.

       Justice Stevens wrote a separate concurrence in which no other Justice joined. He explained

that he agreed with Justice O’Connor that there must be some kind of “minimal, perhaps even

barely perceptible, procedural safeguards” regarding clemency proceedings. Id. at 290 (Stevens,

J., concurring in part and dissenting in part) (internal quotation marks omitted). The opinion that

some minimal safeguards must exist was therefore held by five Justices. But Justice Stevens’

suggestion that “procedures infected by bribery, personal or political animosity, or the deliberate

fabrication of false evidence” could potentially state a due process violation in the right case, Id.

at 290–91, was not joined by any other justice.


    B. The 14th Amendment Due Process Clause does not allow Creech to challenge the
       substance of information presented at his clemency hearing.

       Creech cites Justice Stevens’ concurrence and directly accuses the ACPA of violating due

process by deliberately fabricating and submitting false evidence to the Commission. But these

spurious allegations, aside from recklessly casting aspersions, amount to an improper attempt to

expand judicial review into the substance of the executive’s discretionary decision-making. 5

       Justice Stevens’ concurrence in Woodard—joined by no other Justice—is not the law. And

the reasoning of his dicta about “deliberate fabrication of false evidence” has not been followed.

The Sixth Circuit was confronted with the allegation that the state presented fabricated expert




5
 The ACPA vehemently denies Creech’s baseless allegations that it fabricated and falsified
evidence.
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testimony during clemency proceedings when a death row inmate sought to re-open a petition for

writ of habeas corpus. Workman v. Bell, 245 F.3d 849, 851–52 (6th Cir. 2001). The court first

observed that it does not “sit as super appeals courts over state commutation proceedings,” and

that “pardon and commutation decisions have not traditionally been the business of courts; as such,

they are rarely, if ever, appropriate subjects for judicial review.” Id. at 852 (cleaned up). The court

relied upon Justice O’Connor’s concurrence in Woodard concluding that minimal procedural

safeguards apply to clemency proceedings and recounted the clarification that “Judicial

intervention might, for example, be warranted in the face of a scheme whereby a state official

flipped a coin to determine whether to grant clemency, or in a case where the State arbitrarily

denied a prisoner any access to its clemency process.” Id. (quoting Woodard, 523 U.S. at 289).

The court found that the allegations failed to meet the Woodard standard for minimal due process,

explaining,

       He attacks the evidence presented at his clemency proceeding by saying that it was
       erroneous or false. Thus, he attacks the proceedings’ substantive merits. We are not
       authorized to review the substantive merits of a clemency proceeding. Our only
       review is to see that there are some minimal procedural safeguards. It is not our
       duty to determine the quality of the evidence considered by the governor or his
       board.

Id. at 852–53 (6th Cir. 2001) (emphasis added) (cleaned up) (citing Faulder v. Texas Board of

Pardons and Paroles, 178 F.3d 343, 344 (5th Cir.1999); Duvall v. Keating, 162 F.3d 1058, 1061

(10th Cir.1998)). On this basis, the court denied the motion to re-open. Id. at 853.

       Workman subsequently filed a lawsuit much like Creech’s, seeking a temporary restraining

order to stay his execution until his claims—including “the use of false testimony against him” at

the clemency hearing—could be adjudicated, Workman v. Summers, 136 F. Supp. 2d 896, 897

(M.D. Tenn.), aff’d, 8 F. App’x 371 (6th Cir. 2001). Citing Justice O’Connor’s concurrence, the

court determined that “some minimal level of procedural due process applies to clemency

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proceedings,” although the ultimate decision to grant or deny clemency is within the Governor’s

discretion. Id. at 898. The court also cited Justice O’Connor’s explanation of what constitutes

minimal due process, as courts applying Woodard routinely do: “Judicial intervention might, for

example, be warranted in the face of a scheme whereby a state official flipped a coin to determine

whether to grant clemency, or in a case where the State arbitrarily denied a prisoner any access to

its clemency process.” Id. (quoting Woodard, 523 U.S. at 289). The court concluded that, even

when viewing the facts in the light most favorable to Workman, that he received the minimal due

process required for a clemency proceeding, and that “No Court has required the level of due

process requested by Workman for clemency proceedings.” Id. at 899.

       After that TRO was denied (which was upheld by the Sixth Circuit in an unpublished

opinion), the defendants in Workman filed a motion to dismiss. Workman v. Summers, No. 3:01-

0290, 2001 WL 1782877 (M.D. Tenn. Oct. 31, 2001), aff’d, 111 F. App’x 369 (6th Cir. 2004). In

opposing the motion, Workman relied on Woodard and Young v. Hayes, 218 F.3d 850 (8th

Cir.2000), just as Creech does. Id. at *4. Workman argued that “allegations that State actors rigged

clemency proceedings so that the Governor would receive false and misleading evidence state

claims for relief.” Id. The court rejected Workman’s arguments and granted the motion to dismiss

on the same grounds as the denial of the TRO. Id.

       Just like Workman, Creech attempts to challenge the substantive merits of the clemency

proceeding by alleging that the ACPA deliberately fabricated false evidence regarding both the

murder of Walker and the sock Creech used to murder Jensen. 6 He attempts to steer the Court’s




6
 The Hearing Minutes reflect that Prosecutor Longhurst never stated the sock shown in a picture
was the murder weapon. Dec. of T. Smith, Ex. B, p. 9 (“Ms. Longhurst added that in Thomas
Creech’s cell, officers discovered a sock that matched the one used with the batteries”), p. 13 (“Ms.
Longhurst displayed a photograph of the matching sock that was found in Creech’s cell.”).
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attention away from the central issue: whether Creech’s clemency determination was an arbitrary

“coin flip” and whether he was arbitrarily denied the ability to petition for clemency. The answer

to both is no. Creech, represented by counsel, presented hours of information to the Commission

in a hearing that the Commission, in its discretion, allowed him to have. The Commission made a

determination that it would not recommend commutation after a lengthy hearing at which Creech

was free to present any information he believed was relevant. Subsequently, the Governor, who is

the ultimate decision-maker, communicated that he would use his discretion to deny clemency.

Creech was afforded more than the minimal safeguards required, and his allegations challenging

the quality of the information presented do not state a due process claim, even if he is not satisfied

with the outcome of his petition. The discretionary decisions of the executive branch did not arise

in the rare situations that might subject them to judicial interference.


   C. Creech has no due process right to preview the information to be presented at his
      clemency hearing.

       Creech cites Wilson v. U.S. District Court for Northern District of California, 161 F.3d

1185 (9th Cir. 1998), for the proposition that a prosecutor who presents information in a clemency

hearing is required by the U.S. Constitution to provide all the evidence she intends to present to

the inmate in advance of the hearing. But there is no such constitutional due process right, and

Wilson did not hold there was.

       Wilson was about the executive branch, who makes the clemency determination,

misleading the inmate about what information it would rely upon in making that determination. It

had nothing to do with a prosecutor failing to allow the inmate to preview her presentation to the

executive decision-maker. In Wilson, the plaintiff sought a TRO, alleging that the defendants (the

governor and a prison warden were named) sent a letter that defined the scope of information that


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would be relevant to the clemency decision, that this scope excluded evidence that questioned the

inmate’s guilt, but the governor ultimately denied clemency based on the absence of information

that questioned the inmate’s guilt. Id. at 1186. In other words, the party responsible for making the

clemency determination told the inmate not to submit the very evidence it sought when making

the clemency determination. The Ninth Circuit held that these allegations were sufficient to state

a claim of violation of due process. Id. at 1187.

       Creech’s allegations against the ACPA are distinguishable from those in Wilson. The

ACPA did not prescribe the scope of evidence or procedures of the clemency hearing. As

demonstrated by the Commission’s Memos, procedures were worked out in advance between the

FDI and the ACPA. Creech was well aware of the scope of the hearing, his attorneys having been

involved in defining it, and the ACPA did not issue the official communication about it, the

Commission did. While the written submissions from both parties and the investigator would be

shared, nothing in this procedure discussed the parties being required to share their presentations

with each other. Creech was free to present information that the ACPA had not seen, and the ACPA

was free to present evidence that Creech had not seen.

       Nothing about this mutually agreed-upon procedure violates due process. The Commission

still made its determination based on reason, rather than arbitrarily, such as with a coin flip. See

Woodard, 523 U.S. at 289 (1998) (O’Connor, J., concurring in part). Creech was given access to

the procedure above and beyond what minimal due process requires, in that he had the opportunity

not only to petition for commutation, but also to participate in a hearing, be represented by counsel

at that hearing, and see the ACPA’s written submissions in advance. When minimal due process

does not even require a party have the opportunity to testify or submit evidence at the hearing, Id.

at 289–90, Creech received all that minimal due process requires, and more.



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    D. The ACPA did not deprive Creech of due process because he was able to present his
       concerns to the Commission post-Hearing, which did not find the concerns sufficient
       to defer deciding on the commutation petition.

          Creech cannot show that the ACPA deprived him of any liberty or life interest because the

executive branch—the Governor and the Commission—have the prerogative to make clemency

recommendations and decisions, not the ACPA. After the clemency hearing, Creech submitted his

concerns about the quality of evidence to these decision-makers, and these decision-makers chose

not to defer the commutation petition despite those concerns. This implies that they did not feel

these concerns merited further discussion or changed their view. And it’s the Commission’s and

Governor’s view that ultimately matter on the question of whether Creech’s sentence is commuted

or not.

          Creech brought his claims against the ACPA under § 1983. A § 1983 cause of action

requires the plaintiff to show that “(1) a person acting under color of State law; (2) subjects or

causes to be subjected to deprivation; (3) a U.S. citizen or person in the jurisdiction of the United

States; (4) of a right, privilege, or immunity secured by the Constitution and laws.” Chaudhry v.

Aragon, 68 F.4th 1161, 1169 (9th Cir. 2023). To establish the second element, the plaintiff must

demonstrate that the defendant’s conduct was the actionable cause of the claimed injury; the

defendant’s action must be both the cause-in-fact and the proximate cause, or else there is no

liability. Id. at 1169–70 (citing Harper v. City of Los Angeles, 533 F.3d 1010, 1026 (9th Cir. 2008);

Van Ort v. Est. of Stanewich, 92 F.3d 831, 837 (9th Cir. 1996)).

          The ACPA is neither the proximate cause nor the cause-in-fact of Creech not receiving a

commutation. That decision is the prerogative of the Governor to make, in conjunction with a

recommendation from the Commission. Creech made the Commission aware of his concerns about

the quality of evidence and prior notice of what the ACPA would present at the Hearing. [Dkts. 5-

8. 5-9, 5-10] Creech requested that the Commission defer issuing its recommendation until he had
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the opportunity to present further information on these issues, but the Commission chose not to

defer the petition. By opting not to defer the petition in light of Creech’s concerns, the Commission

impliedly determined that the concerns did not merit looking into further. The concerns did not

move the needle for the Commission, which determines in its own discretion what information it

will base its determinations on. Ultimately, the Governor has the role to grant or deny commutation

of a death sentence. State v. Pizzuto, 171 Idaho 100, 518 P.3d 796, 807–08 (2022), reh’g denied

(Oct. 28, 2022). The Governor has communicated that he does not intend to grant a commutation

or any other clemency to Creech.

       Thus, given that the clemency application process is complete, given that the Commission

recommended denial despite Creech’s concerns about the quality of evidence at the hearing, and

given that the Governor has already expressed his intention to grant Creech no commutation,

Creech cannot show that the ACPA is the proximate cause of any deprivation of a life or liberty

interest. Any deprivation of those interests will occur because all due process has been afforded

through decades of litigation and a proper clemency application process that meets minimal due

process requirements, and because the executive to whom the discretion over clemency belongs

will have exercised that prerogative to deny it.


                                      IV. CONCLUSION

       The Court should deny the motion for preliminary injunction because Creech does not state

a claim for due process violation and therefore has no chance of success on the merits. This is not

one of the rare cases of an arbitrary, coin-flip decision that justify judicial interference with an

executive function. Creech was provided more than the minimal due process required. And in the

end, after Creech had decades of judicial due process and the opportunity to present to the

Commission, the Governor—who is the ultimate decisionmaker regarding commutations—has

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made his determination that Creech’s request is denied. The preliminary injunction should likewise

be denied.



       DATED this 13th day of February, 2024.


                                                    JAN M. BENNETTS
                                                    Ada County Prosecuting Attorney


                                              By:   /s/ Dayton P. Reed
                                                    Dayton P. Reed
                                                    Deputy Prosecuting Attorney




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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 13th day of February, 2024, I served a true and correct
copy of the foregoing Prosecutor Bennetts’ Opposition to Motion for Preliminary Injunction [Dkt.
4] to the following person(s) by the following method:

        Christopher Sanchez                           christopher_m_sanchez@fd.org
        Jonah J. Horwitz                              jonah_horwitz@fd.org
        Deborah A. Czuba                              deborah_a_czuba@fd.org
        Mary E. Spears                                mary_spears@fd.org
        Nicole R. Gabriel                             nicole_gabriel@fd.org
        FEDERAL DEFENDER SERVICES OF IDAHO



      AND I FURTHER CERTIFY that on such date I served the foregoing on the following
non-CM/ECF Registered Participants in the manner indicated as follows:

       N/A

                                            By:    /s/ Chyvonne Tiedemann
                                                   Legal Assistant




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